                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                AT CHATTANOOGA



UNITED STATES OF AMERICA                           )
                                                   )              1:08-CR- 119
v.                                                 )              Judge Collier
                                                   )
SHANNON QUARLES                                    )

                                           ORDER

              Having read and considered the United States’ motion to dismiss the superseding

indictment and for good cause shown,

              It is hereby ORDERED that the United States’ motion is hereby GRANTED, and

the Superseding Indictment in the above styled case is therefore DISMISSED as to this
defendant.


       Entered on this date, December _____, 2008.


                                           /s/ Curtis L. Collier
                                           ________________________________________
                                           UNITED STATES DISTRICT JUDGE




Case 1:08-cr-00119-CLC-SKL  Document
       Case 1:08-cr-00119 Document   15
                                   14-2                Filed
                                                       Filed 12/23/08
                                                             12/22/2008 Page 1 of1 1of 1 PageID
                                                                          Page
                                   #: 35
